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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.         CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANUEVA, et al.

                                    /


                                          ORDER


       This cause is before the Court on:

       Dkt. 926      Motion to Amend Privileges (Nathaniel Harris)
       Dkt. 938      Motion for Reconsideration (Charlie L. Green)
       Dkt. 963      Report and Recommendation

       The Court referred the Motion to Amend Privileges and Motion for
 Reconsideration to the assigned Magistrate Judge to conduct a hearing, if necessary,
 and for a Report and Recommendation. The assigned Magistrate Judge has entered a
 Report and Recommendation in which the following relief is recommended:


       1. Defendant Charlie Green’s motion for reconsideration (doc. 938) be
       DENIED.

       2. Defendant Nathaniel Harris’s motion to amend the privileges (doc.
       926) should be GRANTED to the extent he and the other Defendants
       should be allowed to make telephone calls in the presence of their
       respective investigators or defense counsel under the conditions and
       circumstances the jail custodians deem appropriate to the jail’s legitimate
       penological needs. The calls made in the presence of defense counsel or
       the investigator are not limited to their respective Defendant’s call list. In
       all other respects the motion should be DENIED.

       3. The June 14, 2016, Order does not limit a Defendant’s access to his
       defense counsel or a member of his defense team. Defense counsel and
       their agents are to have access to their assigned Defendant in keeping
       with the ordinary limitations (if any) the facility imposes on jail visits for
       such legal visits.
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        4. The intent of the June 14, 2016, Order is to enforce the Protective
        Order and to remedy the effects of the disclosure of information covered
        by the Protective Order.

        5. Any Order the Court issues should not be viewed by jail authorities as
        limiting their authority to impose suitable restrictions on any Defendant to
        enforce a custodial rule or policy or to further some legitimate custodial
        reason.

        6. The United States Marshal should be directed to inquire of the Sheriff
        (or the Sheriffs designated agent) to determine if the Sheriffs reasons for
        shackling, restraining, or restricting the movement of any Defendant are in
        keeping with the facility’s usual policies and practices for pretrial
        detainees presenting similar security profiles, or in keeping with the
        legitimate custodial needs as to that Defendant. The United States
        Marshal should report to the Court accordingly.

        The Court has reviewed the pleadings and the record. No objections to the
 Report and Recommendation have been filed. After consideration, the Court adopts
 and incorporates the Report and Recommendation by reference. Accordingly, it is


        ORDERED that the Report and Recommendation (Dkt. 963) is adopted and
 incorporated by reference. Defendant Charlie L. Green’s Motion for Reconsideration
 (Dkt. 938) is denied. Defendant Nathaniel Harris’s Motion to Amend Privileges (Dkt.
 926) is granted in part to the extent he and the other Defendants should be allowed to
 make telephone calls in the presence of their respective investigators or defense
 counsel under the conditions and circumstances the jail custodians deem appropriate to
 the jail’s legitimate penological needs. The calls made in the presence of defense
 counsel or the investigator are not limited to their respective Defendant’s call list.
 Defendant Nathaniel Harris’s Motion to Amend Privileges is otherwise denied. It is
 further




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         ORDERED that the U.S. Marshal shall inquire of the Hillsborough County
 Sheriff, or his agent, to determine if the Sheriffs reasons for shackling, restraining, or
 restricting the movement of any Defendant are in keeping with the facility’s usual
 policies and practices for pretrial detainees presenting similar security profiles, or in
 keeping with the legitimate custodial needs as to that Defendant. The United States
 Marshal should report to the Court accordingly.


         DONE and ORDERED in Chambers in Tampa, Florida on this 18th day of July,
 2016.




 All parties and counsel of record
 U.S. Marshal




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